- Case 6:05-cv-01430-GAP-JGG Document 3-2. Filed 09/28/05 Page 1 of 3 PagelD 21

MXG-Mare J. Gutterman

aneRnnnieaitiaia mii
From: David Pettinato [DPettinatogmertiniawgroup.com
Sent Tuesday, dune 14, 2005 4:36 PM
To MXG-Marte J. Gutterman
Ce: Nancy Akins, Ajit Nana; fartson@publicadjuster.com; Kelly Kubiak
Subject: RE: Avista Management & S&P Lodging ** SETTLEMENT OFFER (USE ONLY FOR
SETTLEMENT PURPOSES)
Mark:

1 have spoken with Avista and it hes no objection to executing @ Hold Hareless agreement
im Chis situation, a& tong as it reasonably drafted: Please draft up @ proposed one and
sere fo te for review,

Also, please send the insurance settlement checks to me as socn as possible, IT teliews
bet

.'s been more than 20 days fromthe date of the settlement tApril 28, 2805, Thursday
agreement, and interest ie starting to acerue, Bee, Fla. Stat. 627.4985.

Please advise if Liberty Mutual is objecting ta paying interest-on the sett Lament
procemis. Florida Statute $827.4265 states aa fellows:

&bo7 AZBS. Paymedk of sete Lement

in any cage in which @ person and an insurer Nave agreed in writing to the settlement of a
cigim, the insurer shall tender payment according to the terma of the agreement no Later
than 20 dayy after such settlement is reached. The tender of payment may be condi tiugnes
Upon Execution hy such peraon of a release mutually agreeable to the insurer and the
Sidimant, but if the payment is not tendered within 206 days, or such otfier date aa the
agreement may provide, if shall bear interest at a rate of 12 percent per year Prom the
date of the agreement; however, if the tender of payment is conditioned wran the @xnccatian
af a release, the interest shall net begin to accrue until the executed release is
tendered to the insurer,

Stat. 627.4265, plaintiti was entitled bo interest in a sethlement due to the insurance

Fla, a. Weekly D 2378 (Fla, Dist. Ct, App. dd Diet, 2000), review denied by 784 Sa. 2d
a4, 200) Pia, LEXIS 695 (Fla, -2002),

Fhe ingured Avista ig entitled to interest on @ settlement amount becanee the settlement

ATTEOMGn. wes a Contract and Interest was racoverable far a contract debt; additionally,

as the ingurer, Liberty Mutual was required to make the settlement payment within 20 daya
pursuant Co Fla, Stat. §827.4265. F.0d. Aviation; Ine. wv. Gleason, S10 So. 3d i417, 1387
Fla. Bpp. LEXTS 9900, 212 Fla, L. Weekly 1994 [Fla. Qist. ocr. App. Sth Diet. D987).

iaetiy, Avieta would offer, at this time only, before any Litigation manies and tame arn
ant on the Bad Faith nauses.of ascrion, te settlement the matter in ine entirety.
cordingly, fwista hereby makes the offer to settle all the potential dad Faith causes ct
ion for the 9 ingured properties for $1,500,000.00 plus atterneys fees and Public

Adiusher fees.

Svigta's tobal building property damaqes were approximately 64, 600,000.00, Liberty Mutual
paid approximately $3,100,000..00, fer a net difference of appromimately $1,500, 000.0,
“bus Avista, ta put it back into a pre lose condition, use@ that number os a fair number
For vettleament of the bad faith cages.

1, 800, O00. 00 jolfer to settle Bad Faith tases for 9 insured
hotel properties. That 16 $266,666.66 per insured property fcare,
Thal 19 am excellent settlement offer oy avieba at this tame:
- Case 6:05-cv-01430-GAP-JGG Document 3-2 Filed 09/28/05 Page 2 of 3 PagelD 22

' PM TBublic Adjuster) fea

Please advise as to Liberty Mutual's response to the above. TF you like be discues the
above, please coil me. ,

tavid J. Pettinere Ea.
Merlin Law Group
io? 8. Harkeur Island Blwd., Suite 480

Flerida 338D2
229-1000

dpett inathellmer Linlawgroup com a
insurance [lst and Grd party) Litigation, Bad Faith,
Complex Insurance Coverage and Litigation

From: MMG-Mare J. Gutterman [mai lrormmgquttermaniconroysimbéry, com]
Sf Saturday, June 11, ZOOS 3419 Pre

fo: Dawid Pavtinatn
Subject: Avista Manaqemant & 382 Ledging

Please allaw this message toa follow and canfirm our telephone conversation last week. As
discussed, you will be contacting your clienta to see if they would be willing ta axecube
an indemnification and haid harmless agreement as part of the Release to be provided to

ausau. The indemnification and bold harmless agreement would only apoly to the
liocetion of the claim payments and any possible claim/suit that might be brought by a
iGas payee or mortgages pertaining te the allecetion. We alec discussed the possibliaty
nf your clients obtaining the written condent of each loss payee or mortgagee to the
allegation in Liew of an indemnification and hold harmless agreement. = look forward «0
heacing From you cegarding this legue,

Addilsonally, a8 discustied, please kindly provide me with a written demand fer any “hed
Paith™ cLaimig) priar te your clients filing eny “bad faith" lawauitis).

l igas forward to hearing from you. Have a good weexend .
Regards,

Hare

Mars J. Gutterman, Beauire

operty Department

coaroy, Sisherg, Ganon, Krevaens &€ Abel, P.A,
S440 Hellywood Boulevard
Become Flacr

Hollywood, @lorida 33024

Telephoner 54.961, 7400

Binet Oiads ga SVS. 1212

Facsimile: 954.967.8577

Mabie: 954.695, 0749

Emails mgullternan® canraysimberg, con
Wisit we ats wee, Caglaw, Com

Miami ‘Coral Gables =~ Fort Lauderdale ‘Hollywood - Weat Pale Beach ~ Orlanda - Tampa ~ Fort
Myourg - Pensacola’ - Tallahassee ~« Jacksanville - New York City

> PREVILEGE AND CONPIOERTIALITY NOTICE: Yhis'e-mail is covered ny the Bleectronic
Comnunicatlong Privacy Act, 16 0.8.0, 2510-2521 and is legally privileged, The contents
ef thie ée-meil message and any athachments are intended solely far the party or parties
addressed and named in this massage, This communication and all attachments, if any, are
intended to be and toa remain cenfidential, amd it may be subjest to the applicable

Z

Case 6:05-cv-01430-GAP-JGG Document 3-2 Filed 09/28/05 Page 3 of 3 PagelD 23

-

attorney - client privilege ardor werk grodact protection. Of you are not the inten
recipient of this message, or if this mecsgage haz been addressed te you in error, pls
imnediatedy alert the sander ty reply e-mail and then delete this message and its —
atiacnmentis, Do not deliver, distribute, or Copy Chie message and of anyw attachments Z
you aré not the intesdied recipient. tenet diseiose the contents or take any action in
reliance upon the inferiwation contained in this communication or any attachments. —

oP responsibility of the recipient to ensure thar it is virus free and nO PesSpomsibi lity
oS atceaphed by Conrey, Fimberg, Gandn, Frevana 4 Abel, BiA., for damage arising in any way
From ite use, , a :

°

defect that might affect any Computer system ante which it ts received anc opened, it is

Ye

>
